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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA

In re:
Johnene Alma Canfield                              Case: 18-31168
                                                   Chapter: 13

Debtor.                                            AGREED ORDER


       This case is before the court on motion of U.S. Bank Trust National Association, as

trustee of the Chalet Series III Trust, for relief from the automatic stay imposed by 11 U.S.C.

§362(a). Based on the motion, the file and the agreement of the Debtor and the Movant,

       1.     The     Debtor agrees that the post-petition arrears is in the total amount of

$10,289.20, with the breakdown as follows:

   March 1, 2019, 1 payment @ $1,168.03                                  $ 1,168.03
   April 1, 2019-October 1, 2019, 7 payments @ $1,218.95                 $ 8,532.65
   Late Charges                                                          $     51.48
   Attorney Fee’s & Costs                                                $ 1,031.00
   Less suspense                                                         ($   519.70)
   Total                                                                 $ 10,289.20

       2.     Within thirty (30) days from date of this Order, Debtor shall file a Modified

Chapter 13 Plan to include the above arrears inside of the Chapter 13 Plan for payment by the

Chapter 13 Trustee.

       3.     Movant shall file a Proof of Claim to request payment of said arrears.

       4.     Debtor agrees to make regular monthly payments as they come due as to:

                                       SN Servicing Corporation
                                            323 5th Street,
                                          Eureka, CA 95501

       5.     The Debtor agrees to remain current on payments to the Chapter 13 Trustee.

       6.     The Debtor agrees that in the event she fails to make any of the above payments as

and when due, Movant or its counsel may serve by mail upon the Debtor and the Debtor’s
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attorney One (1) Notice of Default stating that unless the default is cured within ten (10) days

after service of said Notice of Default, Movant may apply for relief from the automatic stay.

       7.      Notice of subsequent defaults will not be provided.

       8.      The debtor agrees that in the event this case converts to a Chapter 7 bankruptcy, a

breach will have occurred and upon Movant filing an Affidavit that the loan is contractually

delinquent, Movant shall be entitled to an Order for relief from stay without further notice.

       IT IS SO ORDERED: The Motion is denied.

        October 23, 2019
Dated: _______________                       /e/ Katherine A. Constantine
                                             _____________________________
                                             Katherine A. Constantine
                                             United States Bankruptcy Judge
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